Case 1:21-cv-03921-ENV-PK Document 20 Filed 09/28/21 Page 1 of 3 PageID #: 60




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK

David Landfair,

         Plaintiff,

v.                                                Civil Action No. 1:21-cv-03921

Valiant Auto LLC d/b/a Automotive
Services Center, et al.

         Defendants.

                                  NOTICE OF SETTLEMENT

         Please take notice that on September 20, 2021, the parties to this action reached a

settlement in principle that would resolve this entire action as to all Defendants. Accordingly,

MediaStratX LLC, Valiant Auto LLC, and Erik Rameson respectfully, and with the consent of

Plaintiff and the remaining Defendants, submit this Notice and request that this case be stayed for

a period of 120 days or until such time that dismissal papers are filed in accordance with the

parties’ settlement agreement.

         Upon review of this Notice, it is SO ORDERED that this case is stayed for a period of 120

days to afford the parties an opportunity to conclude the contemplated settlement and file the

appropriate dismissal papers.



Dated:                                              _____________________________
                                                    PEGGY KUO
                                                    UNITED STATES MAGISTRATE JUDGE
Case 1:21-cv-03921-ENV-PK Document 20 Filed 09/28/21 Page 2 of 3 PageID #: 61




Dated: September 28, 2021                      Respectfully Submitted,

                                               MEDIASTRATX LLC, VALIANT
                                               AUTO LLC, AND ERIK RAMESON

                                               By Counsel

                                               /s/
                                               Bob Kasolas
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                                      2
Case 1:21-cv-03921-ENV-PK Document 20 Filed 09/28/21 Page 3 of 3 PageID #: 62




                                  CERTIFICATE OF SERVICE

       I hereby certify that on September 28, 2021, the foregoing Notice of Settlement was filed

through the Court’s electronic filing system and will be sent electronically to the parties’ counsel

of record via the Court's electronic filing system.


                                                             /s/
                                                             Bob Kasolas




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